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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                             (973) 776-7700
            CHAMBERS OF                                                        U.S. COURTHOUSE
                                                                               50 WALNUT STREET, ROOM 2060
    JAMES B. CLARK, III                                                        NEWARK, NJ 07102
UNITED STATES MAGISTRATE JUDGE




                                             October 31, 2019


                                            LETTER ORDER


      Re:      Szemple v. Rutgers University, et al.
               Civil Action No. 19-13300 (JMV)

      Dear Mr. Szemple and Counsel:

      The Court is in receipt of a letter from Michael Podera, Esq. of Podera Law indicating that he is

  “willing to take this case pro bono and would welcome appointment” as pro bono counsel for Plaintiff.

  See Dkt. No. 5. Plaintiff previously filed a motion for the appointment of pro bono counsel [Dkt. No.

  2] which was subsequently denied by the Court [Dkt. No. 4]. In denying Plaintiff’s motion, the Court

  found that Plaintiff had “not sufficiently established his indigency” and noted that Plaintiff’s

  Complaint had not been screened by the Court to determine whether Plaintiff’s claims have “some

  merit in fact and law.” Dkt. No. 4 at p. 2 (citing Tabron v. Grace, 6 F.3d 147, 153 (3d Cir. 1993)).

  There has been no change in the circumstances noted by the Court in its denial of Plaintiff’s previous

  motion for pro bono counsel and no renewed motion by Plaintiff. Although Mr. Podera has indicated

  to the Court that he would be willing to accept an appointment by the Court as pro bono counsel for

  Plaintiff, the Court, based upon the lack of change in circumstances which led to the denial of

  Plaintiff’s previous motion, declines to order the appointment of pro bono counsel for Plaintiff at this

  juncture. However, the Court knows of no impediment which would prevent Mr. Podera from

  representing Plaintiff pro bono in this matter absent an Order from this Court requiring him to do so.
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  IT IS SO ORDERED.

                                          s/ James B. Clark, III
                                        JAMES B. CLARK, III
                                        United States Magistrate Judge
